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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


   Shure Incorporated,                               Civil Number 1:17-cv-03078
                                                     Jury Trial Demanded
           Plaintiff,                                Hon. Edmond E. Chang
   vs.                                               Mag. Judge Hon. Maria Valdez

   ClearOne, Inc.,

           Defendant.

   ClearOne, Inc.,

           Counter-Plaintiff,
   vs.

   Shure Incorporated

           Counter-Defendants.




                 JOINT MOTION FOR ENTRY OF PROTECTIVE ORDER

         As instructed by the Court in its November 14, 2017 Minute Order (ECF 139), Plaintiff /

Counterclaim Defendant, Shure Incorporated (“Shure”), and Defendant / Counterclaim Plaintiff

ClearOne, Inc. (“ClearOne”) jointly submit the Agreed Protective Order, attached hereto as

Attachment 1, for governing this case. The attached Protective Order includes additional terms

not previously presented to the Court, expressed in Paragraph 4(j), which were added to provide a

process for the parties to address discovery issues relating to any related post grant proceedings,

such as the currently-pending IPR relating to a related ClearOne patent. The remainder of the

attached Protective Order has been considered by the Court and is responsive to the Court’s Minute




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Order (ECF 139). The parties jointly request entry of the agreed Protective Order filed herewith

and submitted to the Court’s Order mailbox.




Dated: May 21, 2018                           Respectfully Submitted,


By: /s/ Alexander C.D. Giza                          By: /s/ Bradley F. Rademaker
One of the Attorneys for                             One of the Attorneys for
CLEARONE, INC.                                       SHURE INCORPORATED

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                                CERTIFICATE OF SERVICE
       The undersigned attorney hereby certifies that a copy of the foregoing document was
served upon all counsel of record in this case on May 21, 2018 by electronic mail.


                                     /s/ Bradley F. Rademaker




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